Case 4:25-cv-04451-KAW   Document 1-1   Filed 05/27/25   Page 1 of 20




            EXHIBIT A
DocuSign Envelope ID: 9E332F7B-B8B7-4F1D-A34D-033463F7C001
                            Case 4:25-cv-04451-KAW                                           Document 1-1                         Filed 05/27/25                 Page 2 of 20


                                                                                       Silo Cash Advance Program Order Form



        Customer Name:                                            LA Produce Distributors                             Customer Address:                   1601 E. Olympic Blvd, Bldg 100, Los Angeles, CA 90021
        Customer Contact:                                                  Matthew Clark                              Customer Billing Contact:                                                 Matthew Clark
        Customer Contact Email:                                                                                       Customer Billing Contact Email:


        Offer Terms Valid through:                                                4/25/23


        Silo Cash Advance Program Terms                  Effective Date                     Total Available Advance          Expected Payment Time              Fee                       Your Payment to Silo
                                                              4/26/23                                   $3,000,000                          6 months         3.80%                 Maximum Total: $3,114,000
                                                                                                                                                                                        % of Future Sales: 9.2%




        Program Details:
        Total Available Advance Amount (maximum future receivables that Silo will purchase): $3,000,000
        Expected Payment Time (based on historical sales activity): 6 Months
        Payment Terms (scheduled monthly payments starting months 2 through 3 or 6): (please refer to expected payment schedule)
        Fee: 3.8% on the amount advanced


        Overview:
        - You can select an amount (up to the Total Available Advance) to receive as an Advance in exchange for a portion of your future sales
        - Starting on the date the Advance Amount is provided, month one (1) has no required payment
        - Your payment obligation begins at the start of month two (2) and continues monthly until the amount you owe is paid (Advance Amount+ Fee)
        - You can elect to make payments prior to the start of month two (2) or additional payments (above the designated payment) at any time
        - Additional Advance requests are subject to Silo approval
        - Silo will maintain a shared expected payment schedule that is updated with each payment. You may contact Silo regarding any questions related to your expected weekly payments.
        https://docs.google.com/spreadsheets/d/1Jyd9zTOTHUsK6lU6tcmBfDpoQKX_s1zBf3VqWuK5vpk/edit#gid=1617072892


        Additional Requirements:
        - Silo must receive previous month's sales and A/R report, plus company bank statement, prior to granting eligibility for an additional advance
        - Silo intends to provide availability for additional advances as illustrated in the 5 year cash flow model example provided to LA Produce
         https://docs.google.com/spreadsheets/d/1_aqOoUjeGvgOv8CoHT24Tz3B8T5V418ilU7TG4G8kPY/edit#gid=0
        - Silo reserves the right to adjust the pricing and availability for future cash advances


        Documentation Requirements:
        1. Buyout agreement (before first funding is disbursed)
        2. Bank statements on operating accounts (each month prior to next advance)
        3. A/R Report (each month prior to next advance)
        4. P&L and Balance Sheet (at least quarterly )


        Terms of Service:
        This Order Form, Customer’s use of the Silo Cash Advance Program, and receipt of any related services is subject to our Master Service Agreement which is incorporated herein by reference.
        Master Service Agreement


        By signing below, the parties hereby agree to all the terms and conditions of this Order and Master Service Agreement.


        Silo Technologies, Inc.                                                                                       Customer



        Signature:____________________________                                                                        Signature:________________________________________
                         Jeff Butler                                                                                                Matthew Clark
        Printed Name:________________________                                                                         Printed Name:____________________________________

               GM, Silo Capital                                                                                               President
        Title:________________________________                                                                        Title:____________________________________________
              5/3/2023                                                                                                      5/2/2023
        Date:________________________________                                                                         Date:____________________________________________
DocuSign Envelope ID: 174EB244-94FE-4152-95CE-A5B94A366B08
                            Case 4:25-cv-04451-KAW                                           Document 1-1                         Filed 05/27/25                 Page 3 of 20


                                                                                       Silo Cash Advance Program Order Form



        Customer Name:                                            LA Produce Distributors                             Customer Address:                   1601 E. Olympic Blvd, Bldg 100, Los Angeles, CA 90021
        Customer Contact:                                                  Matthew Clark                              Customer Billing Contact:                                                 Matthew Clark
        Customer Contact Email:                                                                                       Customer Billing Contact Email:


        Offer Terms Valid through:                                                 7/8/23


        Silo Cash Advance Program Terms                 Effective Date                      Total Available Advance          Expected Payment Time              Fee                       Your Payment to Silo
                                                               7/8/23                                   $1,000,000                          6 months         4.50%                 Maximum Total: $1,045,000
                                                                                                                                                                                        % of Future Sales: 3.1%




        Program Details:
        Total Available Advance Amount (maximum future receivables that Silo will purchase): $1,000,000
        Expected Payment Time (based on historical sales activity): 6 Months
        Payment Terms (scheduled monthly payments starting months 2 through 3 or 6): (please refer to expected payment schedule)
        Fee: 4.5% on the amount advanced


        Overview:
        - You can select an amount (up to the Total Available Advance) to receive as an Advance in exchange for a portion of your future sales
        - Starting on the date the Advance Amount is provided, month one (1) has no required payment
        - Your payment obligation begins at the start of month two (2) and continues monthly until the amount you owe is paid (Advance Amount+ Fee)
        - You can elect to make payments prior to the start of month two (2) or additional payments (above the designated payment) at any time
        - Additional Advance requests are subject to Silo approval
        - Silo will maintain a shared expected payment schedule that is updated with each payment. You may contact Silo regarding any questions related to your expected weekly payments.
        https://docs.google.com/spreadsheets/d/1Jyd9zTOTHUsK6lU6tcmBfDpoQKX_s1zBf3VqWuK5vpk/edit#gid=1617072892


        Additional Requirements:
        - Silo must receive previous month's sales and A/R report, plus company bank statement, prior to granting eligibility for an additional advance
        - Silo reserves the right to adjust the pricing and availability for future cash advances


        Terms of Service:
        This Order Form, Customer’s use of the Silo Cash Advance Program, and receipt of any related services is subject to our Master Service Agreement which is incorporated herein by reference.
        Master Service Agreement


        By signing below, the parties hereby agree to all the terms and conditions of this Order and Master Service Agreement.


        Silo Technologies, Inc.                                                                                       Customer



        Signature:____________________________                                                                        Signature:________________________________________
                       Jeff Butler                                                                                                    Matthew Clark
        Printed Name:________________________                                                                         Printed Name:____________________________________
              GM, Silo Capital                                                                                              President
        Title:________________________________                                                                        Title:____________________________________________
               7/5/2023                                                                                                    7/5/2023
        Date:________________________________                                                                         Date:____________________________________________
DocuSign Envelope ID: 94911D7F-05B1-4487-98E2-B1926637B029
                            Case 4:25-cv-04451-KAW                                           Document 1-1                         Filed 05/27/25                 Page 4 of 20


                                                                                       Silo Cash Advance Program Order Form



        Customer Name:                                            LA Produce Distributors                             Customer Address:                   1601 E. Olympic Blvd, Bldg 100, Los Angeles, CA 90021
        Customer Contact:                                                  Matthew Clark                              Customer Billing Contact:                                                 Matthew Clark
        Customer Contact Email:                                                                                       Customer Billing Contact Email:


        Offer Terms Valid through:                                                7/31/23


        Silo Cash Advance Program Terms                 Effective Date                      Total Available Advance          Expected Payment Time              Fee                       Your Payment to Silo
                                                              7/31/23                                     $447,000                          6 months         3.80%                   Maximum Total: $463,986
                                                                                                                                                                                       % of Future Sales: 1.38%




        Program Details:
        Total Available Advance Amount (maximum future receivables that Silo will purchase): $1,000,000
        Expected Payment Time (based on historical sales activity): 6 Months
        Payment Terms (scheduled monthly payments starting months 2 through 3 or 6): (please refer to expected payment schedule)
        Fee: 3.8% on the amount advanced


        Overview:
        - You can select an amount (up to the Total Available Advance) to receive as an Advance in exchange for a portion of your future sales
        - Starting on the date the Advance Amount is provided, month one (1) has no required payment
        - Your payment obligation begins at the start of month two (2) and continues monthly until the amount you owe is paid (Advance Amount+ Fee)
        - You can elect to make payments prior to the start of month two (2) or additional payments (above the designated payment) at any time
        - Additional Advance requests are subject to Silo approval
        - Silo will maintain a shared expected payment schedule that is updated with each payment. You may contact Silo regarding any questions related to your expected weekly payments.
        https://docs.google.com/spreadsheets/d/1Jyd9zTOTHUsK6lU6tcmBfDpoQKX_s1zBf3VqWuK5vpk/edit#gid=1617072892


        Additional Requirements:
        - Silo must receive previous month's sales and A/R report, plus company bank statement, prior to granting eligibility for an additional advance
        - Silo reserves the right to adjust the pricing and availability for future cash advances


        Terms of Service:
        This Order Form, Customer’s use of the Silo Cash Advance Program, and receipt of any related services is subject to our Master Service Agreement which is incorporated herein by reference.
        Master Service Agreement


        By signing below, the parties hereby agree to all the terms and conditions of this Order and Master Service Agreement.


        Silo Technologies, Inc.                                                                                       Customer



        Signature:____________________________                                                                        Signature:________________________________________
                        Jeff Butler                                                                                                   matthew clark
        Printed Name:________________________                                                                         Printed Name:____________________________________

               GM, Silo Capital                                                                                             President
        Title:________________________________                                                                        Title:____________________________________________
             8/1/2023                                                                                                       8/1/2023
        Date:________________________________                                                                         Date:____________________________________________
DocuSign Envelope ID: 53DF1CBC-9DBE-47F7-ADC3-E9BDEA7866B0
                           Case 4:25-cv-04451-KAW                                           Document 1-1                         Filed 05/27/25                 Page 5 of 20


                                                                                      Silo Cash Advance Program Order Form



       Customer Name:                                            LA Produce Distributors                             Customer Address:                   1601 E. Olympic Blvd, Bldg 100, Los Angeles, CA 90021
       Customer Contact:                                                  Matthew Clark                              Customer Billing Contact:                                                 Matthew Clark
       Customer Contact Email:                                                                                       Customer Billing Contact Email:


       Offer Terms Valid through:                                                8/31/23


       Silo Cash Advance Program Terms                 Effective Date                      Total Available Advance          Expected Payment Time              Fee                       Your Payment to Silo
                                                             8/31/23                                  $524,284.55                          6 months         3.80%               Maximum Total: $544,207.36
                                                                                                                                                                                      % of Future Sales: 1.61%




       Program Details:
       Total Available Advance Amount (maximum future receivables that Silo will purchase): $524,284.55
       Expected Payment Time (based on historical sales activity): 6 Months
       Payment Terms (scheduled monthly payments starting months 2 through 3 or 6): (please refer to expected payment schedule)
       Fee: 3.8% on the amount advanced


       Overview:
       - You can select an amount (up to the Total Available Advance) to receive as an Advance in exchange for a portion of your future sales
       - Starting on the date the Advance Amount is provided, month one (1) has no required payment
       - Your payment obligation begins at the start of month two (2) and continues monthly until the amount you owe is paid (Advance Amount+ Fee)
       - You can elect to make payments prior to the start of month two (2) or additional payments (above the designated payment) at any time
       - Additional Advance requests are subject to Silo approval
       - Silo will maintain a shared expected payment schedule that is updated with each payment. You may contact Silo regarding any questions related to your expected weekly payments.
       https://docs.google.com/spreadsheets/d/1Jyd9zTOTHUsK6lU6tcmBfDpoQKX_s1zBf3VqWuK5vpk/edit#gid=1617072892


       Additional Requirements:
       - Silo must receive previous month's sales and A/R report, plus company bank statement, prior to granting eligibility for an additional advance
       - Silo reserves the right to adjust the pricing and availability for future cash advances


       Terms of Service:
       This Order Form, Customer’s use of the Silo Cash Advance Program, and receipt of any related services is subject to our Master Service Agreement which is incorporated herein by reference.
       Master Service Agreement


       By signing below, the parties hereby agree to all the terms and conditions of this Order and Master Service Agreement.


       Silo Technologies, Inc.                                                                                       Customer



       Signature:____________________________                                                                        Signature:________________________________________
                      Noel Sanchez                                                                                                          matthew clark
       Printed Name:________________________                                                                         Printed Name:____________________________________
                   Credit Risk                                                                                                            President
       Title:________________________________                                                                        Title:____________________________________________
                 8/31/2023                                                                                                          8/31/2023
       Date:________________________________                                                                         Date:____________________________________________
DocuSign Envelope ID: 9E6CEDAF-093C-4056-9BE4-6E25628A9C64
                            Case 4:25-cv-04451-KAW                                           Document 1-1                         Filed 05/27/25                 Page 6 of 20


                                                                                       Silo Cash Advance Program Order Form



        Customer Name:                                            LA Produce Distributors                             Customer Address:                   1601 E. Olympic Blvd, Bldg 100, Los Angeles, CA 90021
        Customer Contact:                                                  Matthew Clark                              Customer Billing Contact:                                                 Matthew Clark
        Customer Contact Email:                                                                                       Customer Billing Contact Email:


        Offer Terms Valid through:                                                9/29/23


        Silo Cash Advance Program Terms                 Effective Date                      Total Available Advance          Expected Payment Time              Fee                       Your Payment to Silo
                                                              9/29/23                                  $614,985.78                          6 months         3.80%               Maximum Total: $638,355.23
                                                                                                                                                                                       % of Future Sales: 1.63%




        Program Details:
        Total Available Advance Amount (maximum future receivables that Silo will purchase): $614,985.78
        Expected Payment Time (based on historical sales activity): 6 Months
        Payment Terms (scheduled monthly payments starting months 2 through 3 or 6): (please refer to expected payment schedule)
        Fee: 3.8% on the amount advanced


        Overview:
        - You can select an amount (up to the Total Available Advance) to receive as an Advance in exchange for a portion of your future sales
        - Starting on the date the Advance Amount is provided, month one (1) has no required payment
        - Your payment obligation begins at the start of month two (2) and continues monthly until the amount you owe is paid (Advance Amount+ Fee)
        - You can elect to make payments prior to the start of month two (2) or additional payments (above the designated payment) at any time
        - Additional Advance requests are subject to Silo approval
        - Silo will maintain a shared expected payment schedule that is updated with each payment. You may contact Silo regarding any questions related to your expected weekly payments.
        https://docs.google.com/spreadsheets/d/1Jyd9zTOTHUsK6lU6tcmBfDpoQKX_s1zBf3VqWuK5vpk/edit#gid=1617072892


        Additional Requirements:
        - Silo must receive previous month's sales and A/R report, plus company bank statement, prior to granting eligibility for an additional advance
        - Silo reserves the right to adjust the pricing and availability for future cash advances


        Terms of Service:
        This Order Form, Customer’s use of the Silo Cash Advance Program, and receipt of any related services is subject to our Master Service Agreement which is incorporated herein by reference.
        Master Service Agreement


        By signing below, the parties hereby agree to all the terms and conditions of this Order and Master Service Agreement.


        Silo Technologies, Inc.                                                                                       Customer



        Signature:____________________________                                                                        Signature:________________________________________

                         Noel Sanchez                                                                                                     matthew clark
        Printed Name:________________________                                                                         Printed Name:____________________________________

                      Credit Risk                                                                                                     President
        Title:________________________________                                                                        Title:____________________________________________
                  10/6/2023                                                                                                  10/6/2023
        Date:________________________________                                                                         Date:____________________________________________
DocuSign Envelope ID: 6CBC2AD6-8E34-4CD5-8BE0-4D9CD812ED60
                           Case 4:25-cv-04451-KAW                                           Document 1-1                         Filed 05/27/25                 Page 7 of 20


                                                                                      Silo Cash Advance Program Order Form



       Customer Name:                                            LA Produce Distributors                             Customer Address:                   1601 E. Olympic Blvd, Bldg 100, Los Angeles, CA 90021
       Customer Contact:                                                  Matthew Clark                              Customer Billing Contact:                                                 Matthew Clark
       Customer Contact Email:                                                                                       Customer Billing Contact Email:


       Offer Terms Valid through:                                                8/31/23


       Silo Cash Advance Program Terms                 Effective Date                      Total Available Advance          Expected Payment Time              Fee                       Your Payment to Silo
                                                             8/31/23                                  $766,813.10                          6 months         3.80%               Maximum Total: $766,813.10
                                                                                                                                                                                      % of Future Sales: 1.61%




       Program Details:
       Total Available Advance Amount (maximum future receivables that Silo will purchase): $766,813.10
       Expected Payment Time (based on historical sales activity): 6 Months
       Payment Terms (scheduled monthly payments starting months 2 through 3 or 6): (please refer to expected payment schedule)
       Fee: 3.8% on the amount advanced


       Overview:
       - You can select an amount (up to the Total Available Advance) to receive as an Advance in exchange for a portion of your future sales
       - Starting on the date the Advance Amount is provided, month one (1) has no required payment
       - Your payment obligation begins at the start of month two (2) and continues monthly until the amount you owe is paid (Advance Amount+ Fee)
       - You can elect to make payments prior to the start of month two (2) or additional payments (above the designated payment) at any time
       - Additional Advance requests are subject to Silo approval
       - Silo will maintain a shared expected payment schedule that is updated with each payment. You may contact Silo regarding any questions related to your expected weekly payments.
       https://docs.google.com/spreadsheets/d/1Jyd9zTOTHUsK6lU6tcmBfDpoQKX_s1zBf3VqWuK5vpk/edit#gid=1617072892


       Additional Requirements:
       - Silo must receive previous month's sales and A/R report, plus company bank statement, prior to granting eligibility for an additional advance
       - Silo reserves the right to adjust the pricing and availability for future cash advances


       Terms of Service:
       This Order Form, Customer’s use of the Silo Cash Advance Program, and receipt of any related services is subject to our Master Service Agreement which is incorporated herein by reference.
       Master Service Agreement


       By signing below, the parties hereby agree to all the terms and conditions of this Order and Master Service Agreement.


       Silo Technologies, Inc.                                                                                       Customer



       Signature:____________________________                                                                        Signature:________________________________________
                           Noel Sanchez                                                                                                Matthew Clark
       Printed Name:________________________                                                                         Printed Name:____________________________________
                     Credit Risk                                                                                                      President
       Title:________________________________                                                                        Title:____________________________________________
                 10/30/2023                                                                                                       10/30/2023
       Date:________________________________                                                                         Date:____________________________________________
DocuSign Envelope ID: 9795E9C3-3F8D-4313-BF86-15816DC89C48
                            Case 4:25-cv-04451-KAW                                           Document 1-1                         Filed 05/27/25                 Page 8 of 20


                                                                                       Silo Cash Advance Program Order Form



        Customer Name:                                            LA Produce Distributors                             Customer Address:                   1601 E. Olympic Blvd, Bldg 100, Los Angeles, CA 90021
        Customer Contact:                                                  Matthew Clark                              Customer Billing Contact:                                                 Matthew Clark
        Customer Contact Email:                                                                                       Customer Billing Contact Email:


        Offer Terms Valid through:                                               11/29/23


        Silo Cash Advance Program Terms                 Effective Date                      Total Available Advance          Expected Payment Time              Fee                       Your Payment to Silo
                                                             11/29/23                                  $854,037.44                          6 months         3.80%                Maximum Total: $854,037.44
                                                                                                                                                                                       % of Future Sales: 1.63%




        Program Details:
        Total Available Advance Amount (maximum future receivables that Silo will purchase): $614,985.78
        Expected Payment Time (based on historical sales activity): 6 Months
        Payment Terms (scheduled monthly payments starting months 2 through 3 or 6): (please refer to expected payment schedule)
        Fee: 3.8% on the amount advanced


        Overview:
        - You can select an amount (up to the Total Available Advance) to receive as an Advance in exchange for a portion of your future sales
        - Starting on the date the Advance Amount is provided, month one (1) has no required payment
        - Your payment obligation begins at the start of month two (2) and continues monthly until the amount you owe is paid (Advance Amount+ Fee)
        - You can elect to make payments prior to the start of month two (2) or additional payments (above the designated payment) at any time
        - Additional Advance requests are subject to Silo approval
        - Silo will maintain a shared expected payment schedule that is updated with each payment. You may contact Silo regarding any questions related to your expected weekly payments.
        https://docs.google.com/spreadsheets/d/1Jyd9zTOTHUsK6lU6tcmBfDpoQKX_s1zBf3VqWuK5vpk/edit#gid=1617072892


        Additional Requirements:
        - Silo must receive previous month's sales and A/R report, plus company bank statement, prior to granting eligibility for an additional advance
        - Silo reserves the right to adjust the pricing and availability for future cash advances


        Terms of Service:
        This Order Form, Customer’s use of the Silo Cash Advance Program, and receipt of any related services is subject to our Master Service Agreement which is incorporated herein by reference.
        Master Service Agreement


        By signing below, the parties hereby agree to all the terms and conditions of this Order and Master Service Agreement.


        Silo Technologies, Inc.                                                                                       Customer



        Signature:____________________________                                                                        Signature:________________________________________
                        Jeff Butler                                                                                                   Matthew Clark
        Printed Name:________________________                                                                         Printed Name:____________________________________

                GM, Silo Capital                                                                                               President
        Title:________________________________                                                                        Title:____________________________________________
               11/29/2023                                                                                                   11/29/2023
        Date:________________________________                                                                         Date:____________________________________________
DocuSign Envelope ID: D6365B57-9913-44B3-A90F-89D0F2AC344D
                            Case 4:25-cv-04451-KAW                                           Document 1-1                         Filed 05/27/25                 Page 9 of 20


                                                                                       Silo Cash Advance Program Order Form



        Customer Name:                                            LA Produce Distributors                             Customer Address:                   1601 E. Olympic Blvd, Bldg 100, Los Angeles, CA 90021
        Customer Contact:                                                  Matthew Clark                              Customer Billing Contact:                                                 Matthew Clark
        Customer Contact Email:                                                                                       Customer Billing Contact Email:


        Offer Terms Valid through:                                               12/29/23


        Silo Cash Advance Program Terms                 Effective Date                      Total Available Advance          Expected Payment Time              Fee                       Your Payment to Silo
                                                             12/29/23                                $1,001,785.47                          6 months         3.80%              Maximum Total: $1,001,785.47
                                                                                                                                                                                       % of Future Sales: 1.63%




        Program Details:
        Total Available Advance Amount (maximum future receivables that Silo will purchase): $614,985.78
        Expected Payment Time (based on historical sales activity): 6 Months
        Payment Terms (scheduled monthly payments starting months 2 through 3 or 6): (please refer to expected payment schedule)
        Fee: 3.8% on the amount advanced


        Overview:
        - You can select an amount (up to the Total Available Advance) to receive as an Advance in exchange for a portion of your future sales
        - Starting on the date the Advance Amount is provided, month one (1) has no required payment
        - Your payment obligation begins at the start of month two (2) and continues monthly until the amount you owe is paid (Advance Amount+ Fee)
        - You can elect to make payments prior to the start of month two (2) or additional payments (above the designated payment) at any time
        - Additional Advance requests are subject to Silo approval
        - Silo will maintain a shared expected payment schedule that is updated with each payment. You may contact Silo regarding any questions related to your expected weekly payments.
        https://docs.google.com/spreadsheets/d/1Jyd9zTOTHUsK6lU6tcmBfDpoQKX_s1zBf3VqWuK5vpk/edit#gid=1617072892


        Additional Requirements:
        - Silo must receive previous month's sales and A/R report, plus company bank statement, prior to granting eligibility for an additional advance
        - Silo reserves the right to adjust the pricing and availability for future cash advances


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        This Order Form, Customer’s use of the Silo Cash Advance Program, and receipt of any related services is subject to our Master Service Agreement which is incorporated herein by reference.
        Master Service Agreement


        By signing below, the parties hereby agree to all the terms and conditions of this Order and Master Service Agreement.


        Silo Technologies, Inc.                                                                                       Customer



        Signature:____________________________                                                                        Signature:________________________________________
                           Jeff Butler                                                                                                    Matthew Clark
        Printed Name:________________________                                                                         Printed Name:____________________________________

                        GM, Silo Capital                                                                                          President
        Title:________________________________                                                                        Title:____________________________________________
                  12/29/2023                                                                                                      12/29/2023
        Date:________________________________                                                                         Date:____________________________________________
DocuSign Envelope ID: 72A85DD2-613E-4965-8050-231BB73ADB90
                            Case 4:25-cv-04451-KAW                                          Document 1-1                        Filed 05/27/25                  Page 10 of 20


                                                                                       Silo Cash Advance Program Order Form



        Customer Name:                                            LA Produce Distributors                             Customer Address:                   1601 E. Olympic Blvd, Bldg 100, Los Angeles, CA 90021
        Customer Contact:                                                  Matthew Clark                              Customer Billing Contact:                                                 Matthew Clark
        Customer Contact Email:                                                                                       Customer Billing Contact Email:


        Offer Terms Valid through:                                                1/30/24


        Silo Cash Advance Program Terms                 Effective Date                      Total Available Advance          Expected Payment Time              Fee                       Your Payment to Silo
                                                              1/30/24                                  $656,094.36                          6 months         3.80%                   Maximum Total: $681,025
                                                                                                                                                                                       % of Future Sales: 1.11%




        Program Details:
        Total Available Advance Amount (maximum future receivables that Silo will purchase): $656,094.36
        Expected Payment Time (based on historical sales activity): 6 Months
        Payment Terms (scheduled monthly payments starting months 2 through 3 or 6): (please refer to expected payment schedule)
        Fee: 3.8% on the amount advanced


        Overview:
        - You can select an amount (up to the Total Available Advance) to receive as an Advance in exchange for a portion of your future sales
        - Starting on the date the Advance Amount is provided, month one (1) has no required payment
        - Your payment obligation begins at the start of month two (2) and continues monthly until the amount you owe is paid (Advance Amount+ Fee)
        - You can elect to make payments prior to the start of month two (2) or additional payments (above the designated payment) at any time
        - Additional Advance requests are subject to Silo approval
        - Silo will maintain a shared expected payment schedule that is updated with each payment. You may contact Silo regarding any questions related to your expected weekly payments.
        https://docs.google.com/spreadsheets/d/1Jyd9zTOTHUsK6lU6tcmBfDpoQKX_s1zBf3VqWuK5vpk/edit#gid=1617072892


        Additional Requirements:
        - Silo must receive previous month's sales and A/R report, plus company bank statement, prior to granting eligibility for an additional advance
        - Silo reserves the right to adjust the pricing and availability for future cash advances


        Terms of Service:
        This Order Form, Customer’s use of the Silo Cash Advance Program, and receipt of any related services is subject to our Master Service Agreement which is incorporated herein by reference.
        Master Service Agreement


        By signing below, the parties hereby agree to all the terms and conditions of this Order and Master Service Agreement.


        Silo Technologies, Inc.                                                                                       LA Produce Distributors



        Signature:____________________________                                                                        Signature:________________________________________
                           Noel Sanchez                                                                                                 Matthew Clark
        Printed Name:________________________                                                                         Printed Name:____________________________________
                  Capital                                                                                                           President
        Title:________________________________                                                                        Title:____________________________________________

               1/30/2024                                                                                                          1/30/2024
        Date:________________________________                                                                         Date:____________________________________________
                                                                                                                                         ​
                            Case 4:25-cv-04451-KAW                           Document 1-1                  Filed 05/27/25               Page 11 of 20

                                                                                                                                                   8605 Santa Monica Blvd

                                                              Cash Advance Program Order                                                         West Hollywood, CA 90069
                                                                                                                                                              ​usesilo.com​
                                                                         Form

        Customer Name:                    ​Los Angeles Produce Distributors LLC​                  Customer Billing Address:              ​ 601 E Olympic Blvd
                                                                                                                                         1
        ff
                                                                                                                                         Bldg. 100
ff
                                                                                                                                         Los Angeles, CA 90021​
        Customer Contact:                 ​Matthew Clarke​                                        Customer Billing Contact:              ​Matthew Clarke​

        Customer Contact Email:                                                      ​            Customer Billing Email:                ​

                                                                                                                                             ​



        O er Terms Valid through:                7 March 2024


             Silo Cash Advance Program           E ective Date        Total Available Advance           Expected Payment                  Fee            Your Payment to Silo
                                                                                                              Terms
                                             ​ ​02 / 28 / 2024​             ​$692,267.68​                     ​6 Months​                ​3.800%                    ​$718,573.85
                                             ​                    ​                                ​                               ​               ​   As a % of Sales: 1.11%


        Program Details:​
        - Total Available Advance Amount (maximum future receivables that Silo will purchase): $692,267.68​
        - Expected Payment Time (based on historical sales activity): 6 Months​
        - Payment Terms (scheduled weekly payments starting months 2 through 3 or 6): (please refer to expected payment schedule)
        - Fee: 3.800%



        Overview:​
        - You can select an amount (up to the Total Available Advance) to receive as an Advance in exchange for a portion of your future sales
        - Starting on the date the Advance Amount is provided, month one (1) has no required payment.
        - Your payment obligation begins at the start of month two (2), i.e. four (4) weeks after advance date, and continues weekly until the amount you owe is paid (Advance
        Amount+ Fee)
        - You can elect to make payments prior to the scheduled payment obligation start date referenced above, or make additional payments (above the designated payment) at
        any time.
        - Additional Advance requests are subject to Silo approval.
        - Silo will maintain a shared expected payment schedule that is updated with each payment. You may contact Silo regarding any questions related to your expected weekly
        payments.
        - Silo may request reporting and/or bank statements from time to time throughout the duration of your cash advance, which you agree to send upon request.



        Terms of Service:​
        This Order Form, Customer’s use of the Silo Cash Advance program, and receipt of any related services is subject to our Master Service Agreement which is incorporated
        herein by reference.



        Master Service Agreement​


        By signing below, the parties hereby agree to all the terms and conditions of this Order and Master Service Agreement.


        Silo Technologies, Inc                                                                   Los Angeles Produce Distributors LLC​



        Signature                                                                                Signature

                            Jeff Butler                                                                             Matthew Clark
        Printed Name                                                                             Printed Name




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                                                                                         8605 Santa Monica Blvd

                                        Cash Advance Program Order                     West Hollywood, CA 90069
                                                                                                    ​usesilo.com​
                                                   Form

   Title         GM, Silo Capital                        Title        President

   Date          02-28-2024                              Date         02-28-2024




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                                                                                                          8605 Santa Monica Blvd

                                         Cash Advance Program Order                                     West Hollywood, CA 90069
                                                                                                                     ​usesilo.com​
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                                        OFFER SUMMARY - SILO CASH ADVANCE


    Funding Provided                      ​$692,267.68​                     This is how much funding Silo will provide.

    Estimated Annual Percentage Rate      ​0.00%                            APR is the estimated cost of your financing
    (APR)                                                                   expressed as a yearly rate. APR incorporates the
                                                                            amount and timing of the funding you receive, fees
                                                                            you pay, and the periodic payments you make. This
                                                                            calculation is based on our estimate of your average
                                                                            monthly income through future receivables. Since
                                                                            your actual income may vary from our estimate,
                                                                            your effective APR may also vary. APR is not an
                                                                            interest rate. The cost of this financing is based
                                                                            upon fees charged by Silo rather than interest that
                                                                            accrues over time.

    Finance Charge                        ​$26,306.17​                      This is the dollar cost of your funding. Your finance
                                                                            charge will not increase if you take longer to pay off
                                                                            what you owe.

    Estimated Total Payment Amount        ​$718,573.85​                     This is the total dollar amount of payments we
                                                                            estimate you will make under the contract.

    Estimated Monthly Cost                Month 1: $0 / month               Although you do not make payments on a monthly
                                          Months 2-6:                       basis, this is our calculation of your average
                                          ​$130,649.79 / month              monthly cost based upon the payment amounts
                                                                            disclosed below.

    Estimated Payment                     Weeks 1-4: $0 / Week
                                          Weeks 5-26: $32,662.45 / Week

    Payment Terms                         Starting in the second month, your account will be debited for $32,662.45 of your
                                          gross receipts each week, according to the established repayment schedule, until
                                          the Total Payment Amount is paid.

    Estimated Term                        ​180 Days                         ​ his is our estimate of how long it will take
                                                                            T
                                                                            to collect amounts due to us under the contract
                                                                            based upon your estimated monthly income of.

    Prepayment                            If you pay off the funding faster than required, you still must pay all or a portion of
                                          the finance charge, up to the total repayment amount based upon our estimates.
                                          ​
                                          If you pay off the financing faster than required, you will not be required to pay
                                          additional fees.




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                                                                                            8605 Santa Monica Blvd

                                        Cash Advance Program Order                        West Hollywood, CA 90069
                                                                                                       ​usesilo.com​
                                                   Form

   Applicable law requires this information to be provided to you to help you make an informed decision. By
   signing below, you are confirming that you received this information.



                       ​                                                          ​

    Seller Signature                                        Recipient Signature




    Date               02-28-2024
                       ​                                    Date                  02-28-2024
                                                                                  ​




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Signature Certificate
Reference number:




 Signer                                    Timestamp                            Signature

 Matthew Clarke
 Email:

 Sent:                                    28 Feb 2024 19:44:27 UTC
 Viewed:                                  28 Feb 2024 19:57:00 UTC
 Signed:                                  28 Feb 2024 19:59:45 UTC

 Recipient Verification:                                                        IP address: 162.218.154.242
 ✔Email verified                          28 Feb 2024 19:57:00 UTC              Location: Alhambra, United States



 Jeff Butler
 Email:

 Sent:                                    28 Feb 2024 19:44:27 UTC
 Viewed:                                  29 Feb 2024 01:48:24 UTC
 Signed:                                  29 Feb 2024 01:49:12 UTC

 Recipient Verification:                                                        IP address: 134.215.67.142
 ✔Email verified                          29 Feb 2024 01:48:24 UTC              Location: St. George, United States




Document completed by all parties on:
29 Feb 2024 01:49:12 UTC


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                                                                                                                                                   8605 Santa Monica Blvd

                                                                 Cash Advance Program Order                                                      West Hollywood, CA 90069
                                                                                                                                                              ​usesilo.com​
                                                                            Form

        Customer Name:                    ​Los Angeles Produce Distributors LLC​                  Customer Billing Address:              ​ 601 E Olympic Blvd
                                                                                                                                         1
        ff
                                                                                                                                         Bldg. 100
ff
                                                                                                                                         Los Angeles, CA 90021​
        Customer Contact:                 ​Matthew Clarke​                                        Customer Billing Contact:              ​Matthew Clarke​

        Customer Contact Email:                                                      ​            Customer Billing Email:                ​

                                                                                                                                             ​



        O er Terms Valid through:                11 April 2024


             Silo Cash Advance Program           E ective Date        Total Available Advance           Expected Payment                  Fee            Your Payment to Silo
                                                                                                              Terms
                                             ​ ​03 / 28 / 2024​             ​$721,328.76​                     ​6 Months​                ​3.800%                    ​$748,739.25
                                             ​                    ​                                ​                               ​               ​   As a % of Sales: 2.96%


        Program Details:​
        - Total Available Advance Amount (maximum future receivables that Silo will purchase): $721,328.76​
        - Expected Payment Time (based on historical sales activity): 6 Months​
        - Payment Terms (scheduled weekly payments starting months 2 through 3 or 6): (please refer to expected payment schedule)
        - Fee: 3.800%



        Overview:​
        - You can select an amount (up to the Total Available Advance) to receive as an Advance in exchange for a portion of your future sales
        - Starting on the date the Advance Amount is provided, month one (1) has no required payment.
        - Your payment obligation begins at the start of month two (2), i.e. four (4) weeks after advance date, and continues weekly until the amount you owe is paid (Advance
        Amount+ Fee)
        - You can elect to make payments prior to the scheduled payment obligation start date referenced above, or make additional payments (above the designated payment) at
        any time.
        - Additional Advance requests are subject to Silo approval.
        - Silo will maintain a shared expected payment schedule that is updated with each payment. You may contact Silo regarding any questions related to your expected weekly
        payments.
        - Silo may request reporting and/or bank statements from time to time throughout the duration of your cash advance, which you agree to send upon request.



        Terms of Service:​
        This Order Form, Customer’s use of the Silo Cash Advance program, and receipt of any related services is subject to our Master Service Agreement which is incorporated
        herein by reference.



        Master Service Agreement​


        By signing below, the parties hereby agree to all the terms and conditions of this Order and Master Service Agreement.


        Silo Technologies, Inc                                                                   Los Angeles Produce Distributors LLC​



        Signature                                                                                Signature

                            Jeff Butler                                                                             Matthew clark
        Printed Name                                                                             Printed Name




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                                                                                         8605 Santa Monica Blvd

                                        Cash Advance Program Order                     West Hollywood, CA 90069
                                                                                                    ​usesilo.com​
                                                   Form

   Title         GM, Silo Capital                        Title        President

   Date          03-29-2024                              Date         03-28-2024




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                                                                                                          8605 Santa Monica Blvd

                                         Cash Advance Program Order                                     West Hollywood, CA 90069
                                                                                                                     ​usesilo.com​
                                                    Form


                                        OFFER SUMMARY - SILO CASH ADVANCE


    Funding Provided                      ​$721,328.76​                     This is how much funding Silo will provide.

    Estimated Annual Percentage Rate      ​0.00%                            APR is the estimated cost of your financing
    (APR)                                                                   expressed as a yearly rate. APR incorporates the
                                                                            amount and timing of the funding you receive, fees
                                                                            you pay, and the periodic payments you make. This
                                                                            calculation is based on our estimate of your average
                                                                            monthly income through future receivables. Since
                                                                            your actual income may vary from our estimate,
                                                                            your effective APR may also vary. APR is not an
                                                                            interest rate. The cost of this financing is based
                                                                            upon fees charged by Silo rather than interest that
                                                                            accrues over time.

    Finance Charge                        ​$27,410.49​                      This is the dollar cost of your funding. Your finance
                                                                            charge will not increase if you take longer to pay off
                                                                            what you owe.

    Estimated Total Payment Amount        ​$748,739.25​                     This is the total dollar amount of payments we
                                                                            estimate you will make under the contract.

    Estimated Monthly Cost                Month 1: $0 / month               Although you do not make payments on a monthly
                                          Months 2-6:                       basis, this is our calculation of your average
                                          ​$136,134.41 / month              monthly cost based upon the payment amounts
                                                                            disclosed below.

    Estimated Payment                     Weeks 1-4: $0 / Week
                                          Weeks 5-26: $34,033.60 / Week

    Payment Terms                         Starting in the second month, your account will be debited for $34,033.60 of your
                                          gross receipts each week, according to the established repayment schedule, until
                                          the Total Payment Amount is paid.

    Estimated Term                        ​180 Days                         ​ his is our estimate of how long it will take
                                                                            T
                                                                            to collect amounts due to us under the contract
                                                                            based upon your estimated monthly income of.

    Prepayment                            If you pay off the funding faster than required, you still must pay all or a portion of
                                          the finance charge, up to the total repayment amount based upon our estimates.
                                          ​
                                          If you pay off the financing faster than required, you will not be required to pay
                                          additional fees.




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                                                                                            8605 Santa Monica Blvd

                                        Cash Advance Program Order                        West Hollywood, CA 90069
                                                                                                       ​usesilo.com​
                                                   Form

   Applicable law requires this information to be provided to you to help you make an informed decision. By
   signing below, you are confirming that you received this information.



                       ​                                                          ​

    Seller Signature                                        Recipient Signature




    Date               03-29-2024
                       ​                                    Date                  03-28-2024
                                                                                  ​




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                                                        4                                                   Page 4 of 4
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Signature Certificate
Reference number:




 Signer                                    Timestamp                            Signature

 Matthew Clarke
 Email:

 Sent:                                    28 Mar 2024 23:52:39 UTC
 Viewed:                                  29 Mar 2024 00:01:57 UTC
 Signed:                                  29 Mar 2024 00:02:44 UTC

 Recipient Verification:                                                        IP address: 172.58.208.60
 ✔Email verified                          29 Mar 2024 00:01:57 UTC              Location: Los Angeles, United States



 Jeff Butler
 Email:

 Sent:                                    28 Mar 2024 23:52:39 UTC
 Viewed:                                  29 Mar 2024 19:45:41 UTC
 Signed:                                  29 Mar 2024 19:46:32 UTC

 Recipient Verification:                                                        IP address: 134.215.67.142
 ✔Email verified                          29 Mar 2024 19:45:41 UTC              Location: Washington, United States




Document completed by all parties on:
29 Mar 2024 19:46:32 UTC


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